                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ELK TRANSPORTATION, INC. D/B/A
ELK ENVIRONMENTAL SERVICES,
                                              CIVIL ACTION NO. 2:21-CV-00361-DSC
                      Plaintiff
                                              JUDGE DAVID C. CERCONE
               v.

US TRINITY ENERGY SERVICES, LLC,

                      Defendant


    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Plaintiff hereby provides notice that the above-captioned action is voluntarily dismissed,

with prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).



                                                    COHEN SEGLIAS PALLAS
                                                    GREENHALL & FURMAN PC

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